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              Fill in this information to identify your case:

 Debtor 1                  Michael John Mohr
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Chrystal Rene Mohr
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA, OKLAHOMA DIVISION

 Case number            17-13915
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Bank of America                                       Surrender the property.                               No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation    Yes
    Description of       3905 Creek Bank Rd, Edmond,                          Agreement.
    property             OK 73003-3543                                       Retain the property and [explain]:
    securing debt:



    Creditor's         Merrill Lynch PHH Mortgage                            Surrender the property.                               No
    name:              Services                                              Retain the property and redeem it.
                                                                                                                                   Yes
    Description of
                                                                            Retain the property and enter into a Reaffirmation
                         3905 Creek Bank Rd, Edmond,                           Agreement.
    property             OK 73003-3543                                       Retain the property and [explain]:
    securing debt:



    Creditor's         Toyota Financial Services                             Surrender the property.                               No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a Reaffirmation   Yes
    Description of       2011 Toyota 4Runner                                   Agreement.
    property                                                                Retain the property and [explain]:
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 Debtor 1
 Debtor 2      Mohr, Michael John & Mohr, Chrystal Rene                                             Case number (if known)    17-13915

     securing debt:                                                      Lien has been released

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                            Will the lease be assumed?

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael John Mohr                                                      X /s/ Chrystal Rene Mohr
       Michael John Mohr                                                              Chrystal Rene Mohr
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        January 30, 2019                                               Date     January 30, 2019




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